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 1                            IN THE UNITED STATES DISTRICT COURT
 2                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3                                    SAN FRANCISCO DIVISION
 4
 5    ALASKA COMMUNITY ACTION ON                    Case No. 3:20-cv-05199-RS
      TOXICS, et al.,
 6                                                  ORDER STAYING CASE FOR 60
 7                   Plaintiffs,                    DAYS

 8    v.
 9    COUNCIL ON ENVIRONMENTAL
10    QUALITY, and MARY NEUMAYR, in
      her official capacity as Chair of the
11    council on Environmental Quality,
12
                     Defendants.
13
14
15          Federal Defendants and Plaintiffs have submitted a joint stipulation to stay this case for
16   60 days. Pursuant to the Stipulation, the case is hereby STAYED for 60 days from the date of
17   this order. All currently pending deadlines are hereby VACATED.
18          A status conference to discuss future proceedings in this case and the related case,
19   California v. CEQ, No. 3:20-cv-06057-RS (N.D. Cal.), is set for April 15, 2021. The parties
20   shall submit a joint status report regarding future proceedings no later than 7 days before the
21   status conference.
22          IT IS SO ORDERED.
23                 February 12, 2021
            Dated: __________________
24
25                                                 _______________________________
                                                   Richard Seeborg
26
                                                   CHIEF UNITED STATES DISTRICT
27                                                 JUDGE

28



     Alaska Cmty. Action on Toxics v. CEQ, No. 3:20-cv-05199-RS                                 1
